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                    EXHIBIT I
MES Capital - Funding Traders
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                                   New Partnership Annoucement




                NEW PARTNERSHIP NEW FEATURES.
                Exciting New Partnership Announcement for MES Capital & OneUp Trader.


                We are pleased to announce that MES Capital has officially joined OneUp Trader.
                Together, we are bigger, stronger, and better positioned to provide innovative solutions,
                enhanced services that improve the quality of trader evaluations and funding.


                OneUp Trader will provide technical, comprehensive and innovative tools to all
                prospective traders seeking funding and to facilitate their pursuit of financial and
                professional independence


                With this announcement, we would like to inform you that effective December 29, 2016,
                MES Capital will no longer offer evaluation accounts and all future evaluations must be
                submitted through OneUp Trader starting April 2017.




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                                ONEUP TRADER NEW FEATURES


                       ACCOUNT OPTIONS                                      SIMPLIFIED FUNDING

                         Your account, your choice.                         Fair, attainable, and simplified
                  Choose from a variety of trading                           funding goals. No grey areas,
                         accounts, from $25,000 to                             offering the fairest seeding
                                            $250,000.                             program in the industry




                                        ANALYTICS THAT                                       COMMUNITY
                                        MATTER                                               INTEGRATION
                                        Advanced reports, performance                        Discuss, collaborate and share
                                        analysis tools, so you can better                    ideas. Comprehend and utilise
                                        adjust your trading for maximum                      the wisdom of the trading crowd!
                                        performance




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                LAUNCHING APRIL 2017
                To learn more, visit the OneUp Trader website or get notified by Joining our mailing list




                                                                    OR

                                 Get Notified
                  First Name



                  Last Name



                  Email
                                                                  VISIT ONEUP TRADER


                     Submit




                FAQ

                          Will MES Capital capital provide evaluations?

                  Effective December 29, 2016, MES Capital will no longer offer evaluation accounts. We partnered with OneUp
                  Trader to bring traders an enhanced user experience with a multitude of options. All future evaluations must be
                  submitted through OneUp Trader starting March 2017



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                         I'm currently on an active evaluation, how am i affected?




                ABOUT US.

                Our mission is to enable driven individuals to become fully funded traders. We believe funding successful traders
                represent a critical foundation in the pursuit of financial and professional independence.




                FUNDED TRADERS IN:.


                                                                             CONTACT.

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